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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

                                   6
                                                                                            Case No. 19-cv-01167-JST (AGT)
                                        FACEBOOK, INC., et al.,
                                   7
                                                       Plaintiffs,
                                   8                                                        ORDER REQUESTING
                                                v.                                          SUPPLEMENTAL SUBMISSION
                                   9
                                                                                            Re: Dkt. No. 35
                                        9 XIU NETWORK (SHENZHEN)
                                  10    TECHNOLOGY CO., LTD., et al.,
                                  11                   Defendants.
                                  12          Facebook has asked the Court to enter default against the three individual defendants in
Northern District of California
 United States District Court




                                  13   this case. The company maintains that default is warranted under Article 15 of the Hague Service
                                  14   Convention, because more than six months have passed since it asked China’s Ministry of Justice
                                  15   to initiate service of process on these defendants and the Ministry has yet to do so.
                                  16          With its motion, Facebook provided the Court with a copy of an application that it sent to
                                  17   the Ministry in order to initiate service on one of the corporate defendants. See ECF No. 35-2 at
                                  18   12. The record, however, doesn’t include copies of the applications that Facebook sent to the
                                  19   Ministry in order to initiate service on the three individual defendants. To confirm that Facebook
                                  20   submitted these applications, the Court requests that the company file copies of them by Tuesday,
                                  21   June 30. In doing so, Facebook need not include copies of documents that it attached to the
                                  22   applications if the documents weren’t necessary to effectuate service.
                                  23          IT IS SO ORDERED.
                                  24   Dated: June 25, 2020
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                                  26                                                                ALEX G. TSE
                                                                                                    United States Magistrate Judge
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